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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                                   8:16CR150

     vs.
                                                 DETENTION ORDER PENDING TRIAL
DANIEL L. CHELOHA,

                 Defendant.

 A. Order For Detention
    After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail
    Reform Act, the Court orders the above-named defendant detained pursuant to 18
    U.S.C. § 3142(e) and (I).

 B. Statement Of Reasons For The Detention
The Court orders the defendant’s detention because it finds:
       X      By a preponderance of the evidence that no condition or combination of
              conditions will reasonably assure the appearance of the defendant as
              required.
      X       By clear and convincing evidence that no condition or combination of
              conditions will reasonably assure the safety of any other person or the
              community.

 C. Finding Of Fact
The Court’s findings are based on the evidence which was presented in court and that
    which was contained in the Pretrial Services Report, and includes the following:
     X      (1)    Nature and circumstances of the offense charged:
              X     (a) The crime: Possession with Intent to Distribute 50 Grams or
                         More of Methamphetamine (Mixture) is a serious crime and
                         carries a maximum penalty of 40 years imprisonment.
                    (b) The offense is a crime of violence.
              X     (c) The offense involves a narcotic drug.
                    (d) The offense involves a large amount of controlled substances,
                         to wit:

           (2)      The weight of the evidence against the defendant is high.
      X    (3)      The history and characteristics of the defendant including:
                     (a) General Factors:
                                 The defendant appears to have a mental condition
                                 which may affect whether the defendant will appear.
                                 The defendant has no family ties in the area.
                                 The defendant has no steady employment.
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                             The defendant has no substantial financial resources.
                             The defendant is not a long time resident of the
                             community.
                             The defendant does not have any significant community
                             ties.
                             Past conduct of the defendant:
                             The defendant has a history relating to drug abuse.
                             The defendant has a history relating to alcohol abuse.
                      X      The defendant has a significant prior criminal record.
                             The defendant has a prior record of failure to appear at
                             court proceedings.
               (b) At the time of the current arrest, the defendant was on:
                             Probation
                             Parole
                             Supervised Release
                             Release pending trial, sentence, appeal or completion of
                             sentence.
               (c) Other Factors:
                             The defendant is an illegal alien and is subject to
                             deportation.
                             The defendant is a legal alien and will be subject to
                             deportation if convicted.
                             The Bureau of Immigration and Customs Enforcement
                             (BICE) has placed a detainer with the U.S. Marshal.
                             Other:
   X    (4)   The nature and seriousness of the danger posed by the defendant’s
        release are as follows: Active warrant (Nebraska); Pending drug case (Iowa).

   X    (5)    Rebuttable Presumptions
       In determining that the defendant should be detained, the Court also relied on
            the following rebuttable presumption(s) contained in 18 U.S.C. § 3142(e)
            which the Court finds the defendant has not rebutted:
            X       (a) That no condition or combination of conditions will
                        reasonably assure the appearance of the defendant as
                        required and the safety of any other person and the
                        community because the Court finds that the crime involves:
                           (1) A crime of violence; or
                           (2) An offense for which the maximum penalty is life
                                imprisonment or death; or
                     X     (3) A controlled substance violation which has a
                                maximum penalty of 10 years or more; or
                           (4) A felony after the defendant had been convicted of
                                two or more prior offenses described in (1) through
                                (3) above, and the defendant has a prior conviction
                                for one of the crimes mentioned in (1) through (3)
                                above which is less than five years old and which
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                                     was committed while the defendant was on pretrial
                                     release.
                X      (b)   That no condition or combination of conditions will
                             reasonably assure the appearance of the defendant as
                             required and the safety of the community because the Court
                             finds that there is probable cause to believe:
                        X       (1) That the defendant has committed a controlled
                                     substance violation which has a maximum penalty of
                                     10 years or more.
                                (2) That the defendant has committed an offense under
                                     18 U.S.C. § 924(c) (uses or carries a firearm during
                                     and in relation to any crime of violence, including a
                                     crime of violence, which provides for an enhanced
                                     punishment if committed by the use of a deadly or
                                     dangerous weapon or device).

 D. Additional Directives
Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
            1. The defendant be committed to the custody of the Attorney General for
                confinement in a corrections facility separate, to the extent practicable
                from persons awaiting or serving sentences or being held in custody
                pending appeal; and
            2. The defendant be afforded reasonable opportunity for private
                consultation with counsel; and
            3. That, on order of a court of the United States, or on request of an
                attorney for the government, the person in charge of the corrections
                facility in which the defendant is confined deliver the defendant to a
                United States Marshal for the purpose of an appearance in connection
                with a court proceeding.


 DATED this 7th day of October, 2016.

                                     BY THE COURT:

                                     s/ F.A. Gossett, III
                                     United States Magistrate Judge
